Case 2:05-cv-00235-.]-BB Document 19 Filed 08/18/15 Page 1 of 2 Page|D 65
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IN THE UNITED STATES DISTRICT COURT
FoR THE NoRTHERN DisTRiCT oF TEXAS 2815 AUG 18 PH h= 148

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JOSEPH BERNARD FOWLER, PRO SE,
TDCJ-CID #623887,

A.K.A. Eugene Bernard Fowler,

A.K.A. Bernard Fowler,

A.K.A. Joe Fowler

Previous TDCJ-CID #909414,

Previous TDCJ-CID #954506,

Previous TDCJ-CID #997657,

 

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Plaintiff, §

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v. § 2:05-CV-0235

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GLEN STOUDER, Lt., §

§

Defendant. §

ORDER DENYING POST-JUDGMENT RELIEF

Came on for consideration plaintiff s August 13, 2015 “Motion to Obj ect [etc.]” filed in the
above-referenced cause

The instant cause Was dismissed With prejudice as frivolous on February l, 2006. By his

present motion, plaintiff argues the Court should not have filed his complaint in this cause number,

but should have filed it With another complaint form Which Was filed under cause no. 2 : 05-CV-0249.

The Court complied With plaintiff s request made in response to the August 26, 2005 Order

to Respond by Which plaintiff Was instructed to inform the Court Whether he Wanted the second

complaint form to be considered by the Court. Plaintiffwas informed at that time that, if he Wanted

it receive consideration, it Would be filed as a separate complaint.

 

 

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Plaintiff s response Was clear that he Wanted both complaint forms filed and the claims
asserted therein to be considered by the Court. Ten years after the fact, plaintiff is unhappy With his
choice and its results and argues the Court made a mistake

Plaintiff has presented no meritorious argument to support a grant of any relief Whatsoever.
The “Motion to Obj ect [etc.]” is DENIED.

SIGNED and ()RDERED this / ?/4 day of August, 2015.

WM

CLINTON E/ AVERITTE
UNITED STATES MAGISTRATE JUDGE

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